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 ABOUT THIS
 OVERVIEW
 BOOKLET
 As an employee of PMI Food
 Equipment Group, you're eligible
 for many types of benefits,
 including flexible benefits.

 This booklet provides an over-
 view of our flexible benefits
 program. In general , most of your
 health and welfare benefits are
 part of our flexible benefits
 program, with the exception of
 short-term disability coverage
 and business travel accident
 insurance, which are outlined in
 the disability and accident
 booklets. If you need more
 information about any benefit
 area, please contact the
 Benefits Department.

 This booklet introduces the
 benefits that are offered by
 PMI Food Equipment Group, which
 is part of Premark International, Inc.
 The information in this booklet
 and the booklets for each of the
 benefit areas (medical , dental ,
 life insurance, accident insur-
 ance, disability, and expense
 accounts) are summaries of the
 official Group Benefits Plan
 document and the Flexible Benefits
 Plan document in effect as of
 January 1, 1993. Every attempt
 has been made to summarize
 the provisions of the documents
 accurately; however, if dis-
 agreements arise between this
 booklet and the documents , the
 Group Benefits Plan document
 and the Flexible Benefits Plan
 document always govern.

 If you have any trouble reading
 or understanding English or if
 you have questions after reading
 this material , please contact the
 Benefits Department.
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AN OVERVIEW
OF FLEXIBLE
BENEFITS
Flexible benefits allow you to
tailor your benefits coverage to
meet your needs. In several
benefit areas, the company
recognizes that you may have
different protection or security
needs from other employees.
Here's an overview of how our
flexible benefits program works :


                    Flex Credits                                           Before-tax
                  (Dollars) From                                          Dollars From
                   the Company                                             Your Pay

                         I                                                       1
                                         FLEXIBLE CREDIT POOL
                 I                                                                        I
                                                      I
    AMOUNT YOU SPEND ON FLEXIBLE BENEFITS (MEDICAL, DENTAL, LIFE INSURANCE, ACCIDENT
          INSURANCE, LONG-TERM DISABILITY, EXPENSE ACCOUNTS, AND VACATION)

You pay for your flexible benefits   Government regulations and our       Your flex credits can be used to
choices through a "pool " of         administrative rules require you     purchase benefits coverage .
flexible credits:                    to pay for dependent life insur-     Leftover credits will be added to
                                     ance on an after-tax basis. After-   your pay as taxable income each
•   Flex credits are provided        tax dollars come from your pay       pay period.
    by the company . The amount      after all taxes have been
    of your flexible credits de-     deducted.
    pends on the coverage level
    you elect (whom you cover        Paying for Coverage
    under the plan). In addition,
    your flex credits are based      You can spend your flex credits
    on the dependent coverage        on medical coverage , dental
    category you select.             coverage, employee life insur-
                                     ance, personal accident insur-
•   Before-tax dollars come          ance , and long-term disability
    from your paycheck before        coverage, or you can deposit
    your federal income and          them into the expense accounts,
    Social Security taxes are        or to help purchase vacation
    deducted . In most states,       days. If the cost of your benefit
    these dollars come from your     elections is more than the
    paycheck before state in-        amount of your flex credits, you
    come taxes are deducted.         pay for the rest of your benefits
    You use before-tax dollars to    (except dependent life insur-
    pay for your benefits if the     ance) with before-tax dollars .
    choices you make cost more       You must use after-tax dollars to
    than what your flex credits      pay for dependent life insurance
    will buy.                        only . PMI Food Equipment Group
                                     pays the full cost of your short-
                                     term disability coverage and
                                     business travel accident
2                                    insurance.
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 ENROLLING
 IN COVERAGE                            ELIGIBILITY
 When first hired, you have the         Your Coverage
 opportunity to enroll in the
 flexible benefits program. Your        You're eligible for coverage if you
 enrollment may be subject to any       are a salaried or hourly non-
 preexisting conditions you or          bargained employee who is
 your covered dependents have           regularly scheduled to work at
 and any other guidelines about         least 30 hours per week at
 enrollment, as described in each       PMI Food Equipment Group.
 plan's summary plan description.
                                        The date coverage begins
 Only those dependents named
 on your enrollment form will be        depends on the benefit, as
 eligible for coverage.                 follows:

 Then, each year, you have the                                           You Become Eligible for Coverage
                                         Benefit
 opportunity to re-enroll for ben-                                       on the First of the Month Following
 efits coverage during an annual
                                          Medical                        30 days of continuous employment
 enrollment period . Your coverage
 will be effective through the cal-       Dental                         6 months of continuous employment
 endar year ( dental coverage will
 be in effect for a longer period,        Employee Life and
                                                                         30 days of continuous employment
 as outlined in the Dental Plan           Dependent Life Insurance
 summary plan description) .
                                          Personal Accident and
 During this re-enrollment period,
                                          Business Travel Accident       30 days of continuous employment
 you can change your level of
                                          Insurance
 benefits as well as the depen-
 dents you cover. You must                Short-Term Disability          30 days of continuous employment
 provide Proof of Good Health in
 order to begin or increase your          Long-Term Disability*          30 days of continuous employment
 coverage in some benefit areas .
                                          Health Care Expense
 Also, you cannot change your                                            30 days of continuous employment
                                          Account
 coverage during the year unless
 you experience a change in               Dependent Care Expense
 family status (described on                                             30 days of continuous employment
                                          Account
 page 4).
                                          Vacation Buy/Sell Program* 30 days of continuous employment
 During annual enrollment, you
                                           * Must be regularly scheduled full-time (40 hours/week) to participate.
 will receive communication
 materials that outline any plan
 changes along with an enroll-          If you are not actively at work
 ment form and appropriate              when you are first eligible to
 deadlines. It is your responsibility   participate in a plan , your cover-
 to properly complete and return        age begins on the day you begin
 your enrollment form by the            active work, provided you have
 required deadline .                    properly enrolled.

 If you have questions about the
 enrollment process or the forms
 you must complete, contact the
 Benefits Department.




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                                                                         CHANGE IN
                                                                         FAMILY STATUS
Your Dependent                         - Children for whom you are       Under Internal Revenue Service
Coverage                                 a court~appointed guard-        rules, the flexible benefits cover-
                                         ian, even if the child is not   age choices you elect during
You also may enroll your eligible        a blood relative, provided      annual enrollment must stay in
dependents for medical, dental,          you supply court docu-          effect for the entire plan year -
dependent life insurance and             mentation of guardianship       January 1 through December 31 .
personal accident insurance              and:                            Mid-year changes may be made
coverage. Coverage for depen-                                            only if you have a change in
                                         - The child's parents
dents you elect to cover under a                                         family status.
                                            aren't living, can't be
plan normally begins on the day
                                            located, or are unwilling
your coverage starts. Coverage                                           The following events are consid-
                                            to support the child;
for newly eligible dependents                                            ered family status changes:
becomes effective on the date            - The child is financially
                                            dependent on you for
they first become eligible under
                                            support, according to
                                                                         •   Marriage;
the plans.
                                            IRS guidelines; and
                                                                         •   Acquiring a new dependent
Your eligible dependents include:        - The child is living in your       (such as the birth or adoption
                                            home.                            of a child);
•   Your spouse, unless you are
    legally separated. Your                                              •   Divorce;
    spouse includes a common
    law spouse in states that                                            •   Death of a dependent;
    legally recognize common
    law marriages.                                                       •   Dependent no longer meets
                                                                             eligibility criteria (described
•   Your unmarried children                                                  on page 5); or
    who live in your home in a
    parent-child relationship, and                                       •   Change in your spouse's
    depend on you for support,                                               benefit coverage due to
    according to IRS guidelines.                                             spouse's employment
    In addition, each child                                                  change (such as gaining or
    must be:                                                                 losing employment).
    - Under age 19;
    - Under age 23 and a full-                                           Your coverage changes must be
       time student; or                                                  on account of and consistent
    - Mentally and/or physically                                         with your change in family status.
       disabled, as determined                                           For example, if you adopt a child,
       by the claims administra-                                         you could add your child to your
       tor, when he or she reaches                                       medical coverage. However, this
       age 19 (or age 23, if a full-                                     would not be an opportunity to
       time student), even if                                            drop coverage for other family
       confined to a care facility.                                      members. Benefit changes must
                                                                         be made within 31 days of the
Dependent children are defined
                                                                         change in family status event.
as:
                                                                         The coverage change is effective
    - Natural and legally
                                                                         as of the date the family status
       adopted children;
                                                                         change occurred, provided you
    - Stepchildren living in your                                        have properly notified the Ben-
       household;                                                        efits Department and have
    - Children for whom you are                                          completed the necessary -forms
       ordered by court to pro-                                          within 31 days of the family
       vide coverage; and                                                status change event.


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                                     DEFAULT
                                     COVERAGE
 If your dependent no longer         If you do not submit your flexible   When you are first hired , you will
 meets the dependent eligibility     benefits enrollment form within      receive this default coverage
 criteria (for example, he or she    the required time period, the        until the next enrollment opportu-
 reaches age 19 and is not a full-   company automatically will give      nity. If you do not return your
 time student), coverage termi-      you default coverage. Here           enrollment form within the re-
 nates on the day eligibility        is a summary of your default         quired timeframe for subsequent
 ceases . Your dependent may be      coverage:                            annual enrollment, you will
 eligible for medical and dental                                          automatically receive the same
 coverage continuation under         •   Medical                          coverage in which you were
 COBRA. It's your responsibility         - For enrollment during 1994     enrolled during the previous
 to notify the company if this             and initial enrollment as a    year.
 should occur. See the COBRA               new hire, you will automati-
 Continuation Coverage section in          cally receive employee
 the medical and dental summary            only coverage under the
 plan descriptions for more                $400 deductible indemnity
 information .                             option .
                                           For subsequent annual
                                           enrollment, you will auto-
                                           matically receive the same
                                           coverage level and cover-
                                           age option in which you
                                           were enrolled during the
                                           previous year.

                                     •   Dental - No coverage
                                         (Option N);

                                     •   Employee Life Insur-
                                         ance - $10,000 (Option A) ;

                                     •   Dependent Life Insur-
                                         a"ce - No coverage
                                         (Option N);

                                     •   Personal Accident In-
                                         surance - No coverage
                                         (Option N) ;

                                     •   Long-Term Disability -
                                         No coverage (Option N);

                                     •   Health Care Expense
                                         Account - No deposits;
                                         and

                                     •   Dependent Care Ex-
                                         pense Account - No
                                         deposits.




                                                                                                            5
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LIFE
EVENT CHART
The following chart shows you
how your benefits are affected by
various life and employment
changes . The chart is only a
summary of your benefits. It
does not provide specific infor-
mation on plan operations or
provisions. Keep in mind , some
benefits are paid entirely by the
company, others are paid by
you, and some require that you
and the company share the cost.

You can refer to your summary
plan descriptions for a more
detailed description of how your
benefits are affected in particular
situations .




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                                                                     PMI Food Equipment Group Life Event Chart
                   When/If You •.•

                                                             Add A Dependent       Drop A Dependent
                                                             (for example,         (for example, no
                                        Enroll For           marriage, birth,      longer meets                                  Are Disabled                                                       Leave The
Here's What                             Coverage After       adoption, spouse      eligibility, death,                           (Long-Term -                                                       Company For
Happens Under                           Previously           loses his/her         spouse gains        Are Disabled              More Than Six                                                      Any Other
These Benefits    Are Hired             Waiving Coverage     medical coverage)     coverage)           (Short-Term)              Months)                Retire                Die                   Reason

Medical           You may enroll for    You must provide     You may change        You may change          Your coverage will    Coverage con-          Coverage for you      Coverage for your     Coverage for you
                  coverage within a     Proof of Good        you r coverage        your level of           continue up to six    tinues (662/3          and your depend-      dependents ends       and your depend-
                  specified time        Health before you    level, subject to a   coverage. If your       months.               replacement) at        ents ends on the      on the last day of    ents ends on the
                  period. Your          can enroll. Your     preexisting con-      dependent no                                  cost. You may elect    last day of the       the month in which    last day of the
                  coverage is           coverage is          dition exclusion      longer meets                                  coverage under         month in which you    you die.              month in which
                  subject to a          subject to a         and Proof of          eligibility criteria,                         COBRA.                 retire. If you meet                         you leave the
                  preexisting           preexisting          Good Health           coverage ends on                                                     age and service                             company. You may
                  condition             condition            requirements.         the day eligibility                                                  requirements, you                           be eligible for a
                  exclusion.            exclusion.                                 ends.                                                                may be eligible to                          conversion policy,
                                                                                                                                                        participate in the                          You may elect
                                                                                                                                                        retiree medical                             coverage under
                                                                                                                                                        plan.                                       COBRA.


Dental            You may enroll for    You may enroll for   You may change        You may change          Your coverage will    Coverage ends.         Coverage for you      Coverage for your     Coverage for you
                  coverage. Your        coverage. Your       your coverage         your level of           continue up to six    You may elect          and your depend-      dependents ends       and your depend-
                  coverage is           coverage is sub-     level. Your cover-    coverage. If your       months,               coverage under         ents ends on the      on the last day of    ents ends on the
                  subject to            ject to exclusions   age is subject to     dependent no                                  COBRA.                 last day of the       the month in which    last day of the
                  exclusions for work   for work in pro-     exclusions for work   longer meets                                                         month in which you    you die.              month in which
                  in progress/          gress/missing        in progress/missing   eligibility criteria,                                                retire . When you                           you leave the
                  missing teeth .       teeth.               teeth .               coverage ends on                                                     retire, you can                             company. You may
                                                                                   the day eligibility                                                  elect to continue                           elect coverage
                                                                                   ends .                                                               dental coverage,                            under COBRA.
                                                                                                                                                        up to 18 months.

Health Care     You may elect to        You may elect to     You may change        You may change          You may continue      Contributions end .    Contributions end .   Contributions end .   Contributions end.
Expense Account contribute to this      contribute to this   your contribution     your contribution       contributions up to   You may submit         You may submit        Your survivor may     You may submit
                account.                account.             amount.               amount.                 6 months.             claims to be re-       claims to be          submit claims to be   claims to be re-
                                                                                                                                 imbursed from          reimbursed from       reimbursed from       imbursed from
                                                                                                                                 balances in your       balances in your      balances left in      balances left in
                                                                                                                                 account for            account for           your account for      your account for
                                                                                                                                 expenses incurred      expenses incurred     expenses incurred     expenses incurred
                                                                                                                                 on or before the       on or before the      on or before the      on or before the
                                                                                                                                 day your employ-       day you retire.       day of your death.    day your employ-
                                                                                                                                 ment ends due to a                                                 ment ends. You
                                                                                                                                 disability.                                                        may continue con-
                                                                                                                                                                                                    tributions under
                                                                                                                                                                                                    COBRA.

Dependent Care  You may elect to        You may elect to     You may change        You may change          You may continue      Contributions end .    Contributions end.    Contributions end .   Contributions end.
Expense Account contribute to this      contribute to this   your contribution     your contribution       contributions up to   You may submit         You may submit        Your survivor may     You may submit
                account.                account.             amount.               amount.                 6 months.             claims to be reim-     claims to be          submit claims to be   claims to be re-
                                                                                                                                 bursed from bal-       reimbursed from       reimbu rsed from      imbursed from
                                                                                                                                 ances in your          balances in your      balances left in      balances left in
                                                                                                                                 account for ex-        account for ex-       your account for      your account for
                                                                                                                                 penses incurred        penses incurred       expenses incurred     expenses incurred
                                                                                                                                 before or after your   before or after you   before or after the   before or after the
                                                                                                                                 employment ends        retire.               day of your death.    day your employ-
                                                                                                                                 due to a disability.                                               ment ends.
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                                                              PMI Food Equipment Group Life Event Chart (continued)
                   When/If You ...

                                                              Add A Dependent       Drop A Dependent
                                                              (for example,         (for example, no
                                       Enroll For             marriage, birth,      longer meets                             Are Disabled                                                           Leave The
Here's What                            Coverage After         adoption, spouse      eligibility, death,                      (Long-Term -                                                           Company For
Happens Under                          Previously             loses his/her         spouse gains        Are Disabled         More Than Six                                                          Any Other
These Benefits    Are Hired            Waiving Coverage       medical coverage)     coverage)           (Short-Term)         Months)                 Retire                 Die                     Reason

Short-Term        Your coverage is     Coverage is            Not applicable.       Not applicable.    Coverage              Coverage ends.          Coverage ends.         Coverage ends.          Coverage ends.
Disability        subject to a         automatic.                                                      continues.
                  preexisting
                  condition
                  exclusion .

Long-Term         You may enroll for   You must provide       You may change        You may change     Coverage              Coverage ends,          Coverage ends the      Coverage ends.          Coverage ends on
Disability        cove rage.           Proof of Good          your coverage         your coverage      continues.            unless you're           last day of the                                the last day of the
                                       Health before you      amount. You'll be     amount. You must                         enrolled for LTD        month in which you                             month in which
                                       enroll for coverage.   required to show      provide Evidence                         coverage.               retire .                                       you were
                                                              Proof of Good         of lnsurability.                                                                                                employed.
                                                              Health if you
                                                              increase coverage.

Employee Life     You may enroll for   You must provide       You may change        You may change     Coverage              Coverage                Coverage ends the      If eligible, benefits   Coverage ends on
Insurance         coverage .           Evidence of            your coverage         your coverage      continues up to       continues (662/3        last day of the        are paid to your        the last day of the
                                       lnsurability before    amount. You'll be     amount. You must   six months.           replacement) for        month in which you     survivors.              month in which
                                       you enroll for         required to show      provide Evidence                         length of disability,   retire. You may be                             you were em-
                                       coverage.              Evidence of           of lnsurability.                         up to age 65.           eligible for retiree                           ployed. You may
                                                              lnsurability if you                                                                    life insurance.                                be eligible for a
                                                              increase coverage .                                                                                                                   conversion policy.

Dependent Life    You may enroll for   You dependent(s)       You may change        You may change     Coverage              Coverage ends.          Coverage ends the      Coverage ends.          Coverage ends
Insurance         coverage.            must provide           your coverage         your coverage      continues up to six                           last day of the        You may be eligible     the last day of the
                                       Evidence of            amount. You'll be     amount. You must   months.                                       month in which you     for a conversion        month in which
                                       lnsurab ility before   required to show      provide Evidence                                                 retire .               policy.                 you were em-
                                       you enroll for         Evidence of           of lnsurability.                                                                                                ployed. You may
                                       coverage.              lnsurability if you                                                                                                                   be eligible for a
                                                              increase coverage.                                                                                                                    conversion policy.

Personal          You may enroll for   You may enroll for     You may change        You may change     Coverage              Coverage ends.          Coverage ends the      Your coverage           Coverage ends on
Accident          coverage.            coverage.              your coverage         your coverage      continues up to six                           last day of the        ends. You may be        the last day of the
Insurance                                                     amount or level.      amount or level.   months.                                       month in which you     eligible for a          month in which
                                                                                                                                                     retire .               conversion policy.      you were em-
                                                                                                                                                                                                    ployed. You may
                                                                                                                                                                                                    be eligible for a
                                                                                                                                                                                                    conversion policy.

Business Travel   Coverage is          Coverage is            Not applicable.       Not applicable.    Coverage ends.        Coverage ends.          Coverage ends the      Coverage ends; if Coverage ends
Accident          automatic.           automatic.                                                                                                    day you retire.        eligible benefits are the last day of the
Insurance                                                                                                                                                                   paid to survivors.    month.
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      Hourly Nonbargained Employees .. 5                                                 Plan Administrator ........................ 15
   Cost .................................................... 5                           Plan Number ................................ 15
   Benefit Maximum ............................... 5                                     Type of Plan ................................. 15
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 ABOUT YOUR
 DISABILITY
 BENEFITS
 PMI Food Equipment Group              A Special Note About the Short-
 recognizes that your financial        Term Disability Plan:
 security is important - especially    For convenience and for the
 if you become disabled due to         purpose of communication,
 illness or injury. That's why the     this booklet also describes the
 company offers a short-term           short-term disability plan of
 disability (STD) plan as well as a    PMI Food Equipment Group.
 long-term disability (LTD) plan to    However, the short-term disability
 provide financial protection for      plan is not governed by ERISA
 you when your income is inter-        and is not part of the Premark
 rupted due to illness or injury.      International, Inc. Group Benefits
 STD benefits provide coverage to      Plan. Therefore, certain portions
 you for the first 26 weeks you are    of this booklet, such as the
 disabled. You may become              "Administrative Information"
 eligible for LTD benefits when        section and the "Other Plan
 your STD benefits end.                Information" section, do not
                                       apply to the short-term disability
 This booklet describes the            plan.
 PMI Food Equipment Group
 long-term disability plan, which is   If you have any trouble reading
 part of the Premark International,    or understanding English or if
 Inc. Group Benefits Plan. The         you have questions after reading
 Premark International, Inc. Group     this material, please contact the
 Benefits Plan is governed by a        Benefits Department.
 federal law - the Employee
 Retirement Income Security Act
 of 197 4 (ERISA). This booklet is a
 summary of the Premark Interna-
 tional, Inc. Group Benefits Plan
 document in effect as of
 January 1, 1993. Every attempt
 has been made to summarize the
 provisions of the document
 accurately; however, if disagree-
 ments arise between this booklet
 and the document, the Group
 Benefits Plan document always
 governs.
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 ELIGIBILITY
 When you are first hired, you will    Preexisting Condition                  Special Exclusions
 receive short-term disability         Exclusion
 (STD) coverage automatically                                                 You are not eligible for coverage
 and you will have an opportunity      A preexisting condition is any         under the STD or LTD plans while
 to enroll for long-term disability    illness or injury that exists on the   you are engaged in active mili-
 (LTD) coverage . Then, each year      first day you are covered under        tary service or if you are not a
 during annual enrollment you can      the LTD plan , and for which you       United States resident. The
 select LTD coverage for the next      were treated or received consul-       United States residency require-
 plan year as outlined in the          tation during the six months           ment does not apply to tempo-
 Overview of Flexible Benefits         before the first day your cover-       ra ry residence outside of the
 booklet. If you have questions        age begins . The plan will not pay     United States; for example ,
 about the enrollment process or       LTD benefits if you become             expatriates covered under the
 the forms you must complete,          disabled because of a preexist-        domestic benefit program.
 contact your local Benefits           ing condition during the first 12
 Representative.                       months that you are covered by         Key Terms
                                       the PMI Food Equipment Group's
                                       LTD plan.                              To fully understand how the
 Your Coverage                                                                plans work, it's important that you
 You are eligible for STD cover-                                              know a few terms used through-
                                       Default Coverage
 age if you are a salaried or hourly                                          out this material.
 non-bargained employee who is         STD coverage is automatic . If
 regularly scheduled to work at        you do not return your enrollment      Disabled and Disability
 least 30 hours per week at            form within 31 days of initial
                                       enrollment as a new hire, you will     You are considered to be dis-
 PM\ Food Equipment Group .                                                   abled or under a disability if you
 :ou are eligible for LTD coverage     receive no LTD coverage.
                                                                              cannot perform the material
 1f you are a salaried or hourly                                              duties of your occupation . You
 nonbargained employee who is          If you do not return your enroll-
                                       ment form within the required          are only considered disabled or
 regularly scheduled to work at                                               under a disability if you are under
 least 40 hours per week at            timeframe for subsequent enroll-
                                       ments, you will be enrolled in the     the care and treatment of a
 PM\ Food Equipment Group .                                                   licensed physician , who is prac-
                                       same LTD option (including the
                                       no coverage option) in which you       ticing within the scope of his or
 Your STD and LTD coverage                                                    her license during the entire
 begins the first day of the month     were enrolled during the previous
                                       year.                                  period of your disability.
 following 30 days of continuous
 employment, assuming that you                                                For purposes of LTD, if your
 were actively at work on this         Proof of Good Health
                                                                              disability continues for more than
 date. In addition , you must be       (LTD Only)
                                                                              two years from the date you
 properly enrolled in the LTD plan                                            become disabled, "disability, " for
                                       You must provide Proof of Good
 to be eligible for LTD coverage .                                            the purpose of further LTD
                                       Health (formerly called Evidence
                                       of lnsurability) if you:               benefit payments, will mean that
 If you are not actively at work                                              you are unable to engage in any
 when you are first eligible either
 for short-term disability or long-
                                       •   Previously chose no cover-         occupation for which you are
                                           age under the LTD plan and         reasonably fitted by education ,
 term disability coverage , your                                              training , or experience.
                                           then choose to enroll as a
 STD or LTD coverage will begin
                                           result of a family status
 on the day you begin active
                                           change or during a subse-          Disability Benefits
 work , provided you have properly
                                           quent enrollment period; or
 enrolled.                                                                    Your disability benefit is the
                                                                              money that is paid as a weekly or
                                       •   Are currently enrolled in LTD
                                                                              monthly benefit when your claim
                                           Option A and want to in-
                                                                              for disability benefits has been
                                           crease coverage to LTD
                                                                              approved.
                                           Option B.


                                                                                                                3
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                                       SHORT-TERM
                                       DISABILITY
                                       (STD) PLAN
Illness                                The short-term disability (STD)         The amount of your STD benefit
                                       plan is designed to provide you         is based on your pay and your
An illness is any sickness, dis-       with regular income when you            years of service. Your pay is
ease, or other medical condition,      miss days from work due to an           defined as your monthly base
including pregnancy.                   illness or injury. If you are a         pay as of the first day of your
                                       salaried employee, the STD              disability.
Injury                                 plan will provide coverage for up
An injury is a bodily injury result-   to 26 weeks after you have been         Amount of Benefit
ing directly from an accident and      absent from work due to an
                                       illness or injury for six (6) con-      Salaried Exempt
independent of all other causes.                                               Employees
The injury must occur and dis-         secutive days.
ability must begin while you are                                               If you miss work due to a short-
covered under the disability plan .    If you are a non-bargained              term disability, you're eligible to
                                       hourly employee, the STD plan           receive 100% of your base pay,
Mental or Nervous                      will provide coverage for up to         up to 26 weeks.
Disorder                               26 weeks after you have been
                                       absent from work due to an              Salaried Nonexempt
A mental or nervous disorder           illness for seven (7) consecutive
                                                                               Employees
includes mental, psychoneurotic,       days . The STD plan will provide
or personality disorders of            coverage on the first day you are       If you miss work due to a short-
any type.                              absent from work if your disability     term disability, the amount of
                                       is the result of an accident or if it   benefits you'll receive from the
Physician                              results in immediate hospital           STD plan is based on your years
                                       confinement.                            of service with the company.
A physician is a person (other                                                 You are eligible to receive be-
than you, your spouse, child,          After 26 weeks of continuous            tween 60% to 100% of your base
sibling, or parent, or the child,      disability, you may be eligible for     pay as shown in the following
sibling, or parent of your spouse)     LTD benefits. Each calendar year        chart.
who is:                                your STD benefits cannot exceed
                                       26 weeks, even if separate
•   Properly licensed and              periods of disabilities for the
    recognized as a medical            same or different causes are
    practitioner by the state in       involved .
    which treatment is provided;

•   Operating within the scope of       Years of Service         Weeks Disabled          Percent of Base Pay
    his or her license; and                                         Weeks 1-13                     75%
                                        Less than 2 years
                                                                    Weeks 14-26                    60%
•   Qualified to treat the illness
                                                                     Weeks 1-4                     100%
    or injury for which you are
    applying for disability             2 to 5                      Weeks 5-17                     75%
    benefits .                                                      Weeks 18-26                    60%
                                                                     Weeks 1-9                     100%
                                        5 to 10                     Weeks 10-22                    75%
                                                                    Weeks 23-26                    60%
                                                                    Weeks 1-13                     100%
                                        10 or more
                                                                    Weeks 14-26                    75%




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 If you receive any disability        Recurrent Disability                  If you're disabled, recover from
 benefits from Worker's Compen-                                             your disability, return to work,
 sation or any other compulsory       If you're disabled, recover from      and then become disabled again
 state or federal program, your       your disability, return to work,      due to an unrelated illness or
 STD benefit will be reduced by       and then become disabled again        injury within 90 calendar
 the amount of the other benefit      due to the same cause within          days of returning to work, your
 payments.                            90 calendar days of returning         period of disability will be rein-
                                      to work, your period of disability    stated from the date of your first
 Hourly Nonbargained                  will be reinstated from the date of   absence, for purposes of deter-
                                      your first absence. Your ab-          mining the duration of STD
 Employees                            sence will be counted as one          benefit payments. However, you
 If you miss work due to a short-     continuous period of disability       will be entitled to receive an
 term disability, the amount of       and you'll be eligible to receive     additional 26 weeks of STD time
 benefits you'll receive from the     benefits for the duration of your     off from work (although benefit
 STD plan is equal to 60% of your     disability, up to 26 weeks.           payments may be exhausted
 base pay. If you receive any                                               before the end of the 26-week
 disability benefits from Worker's    For example, if you're a salaried     period).
 Compensation or any other            nonexempt or hourly nonbar-
 compulsory state or federal          gained employee who has been
 program, your STD benefit will be    with the company for three years
 reduced by the amount of the         and you miss work due to a
 other benefit payments.              short-term disability, you will
                                      receive benefits as outlined
 Cost                                 below:
 PMI Food Equipment Group
 automatically provides you with        Situation                   Percent of Base Pay
 short-term disability coverage at                                  First 4 weeks paid at 100%
 no cost to you.                        Disabled for 10 weeks
                                                                    Next 6 weeks paid at 75%

 Benefit Maximum                        Return to work for
                                                                    Receive regular income
                                        less than 90 days
 In any calendar year, you may          Disabled for 16 weeks       First 7 weeks paid at 75%
 receive up to 26 weeks of STD          (same cause)                Next 9 weeks paid at 60%
 benefits - either for one continu-
 ous disability or for separate                                     Note: Benefits can't exceed 26
 periods of disability for the same                                 weeks in one calendar year
 or different causes.

 Separate Periods of
 Disabilities
 (For Salaried Nonexempt and
 Hourly Nonbargained Employ-
 ees)




                                                                                                             5
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Non-Recurrent Disability              Effect on Other Benefits
If you're disabled, return to work,   When you're away from work due
and become disabled by the            to a short-term disability, your
same condition or a new illness       coverage for other benefit plans
or injury more than 90 calen-         in which you are enrolled gener-
dar days after returning to work,     ally will continue up to six
your subsequent absence will be       months, if you continue to pay
considered a new period of            your share of the cost. Deduc-
disability. The amount of your        tions will continue to be taken
benefit will start over again with    from your STD benefit each pay
your Week 1 "percent of base          period for your share of the
pay" benefit. You will be eligible    benefits cost.
for up to 26 weeks of disability
pay minus the weeks of disability     If the deductions are greater than
pay you've already received. For      the amount of your benefit, you
example, if you 're a nonexempt       must pay the difference by the
employee who has been with the        fifth day of each month in order
company for seven years and           for coverage to continue.
you miss work due to a short-
term disability, you will receive     If the deductions are greater than
benefits as outlined below:           the amount of your benefit, you
                                      must pay the difference by the
                                      fifth day of each month in order
                                      for coverage to continue.

    Situation                Percent of Base Pay
                             First 9 weeks paid at 100%
    Disabled for 12 weeks
                             Next 3 weeks paid at 75%
    Return to work for
                             Receive regular income
    more than 90 days
    Disabled for 14 weeks    First 9 weeks paid at 100%
    (same/different cause)   Next 5 weeks paid at 75%
                             Note: Benefits can't exceed 26
                             weeks in one calendar year




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 LONG-TERM
 DISABILITY
 (LTD) PLAN
 The long-term disability (LTD)        Option   Pay Replacement Other Benefits
 plan pays a percentage of your
 monthly pay in disability benefits.
                                         A      50% pay          •   No minimum benefit payment;
                                                replacement
 Other sources of benefits you
 receive, such as Worker's                                       •   Maximum monthly benefit of $6,250;
 Compensation, state-mandated
 benefits, Social Security, or in-                               •   Annual maximum covered salary is
                                                                     $150,000;
 come from your participation in
 an authorized rehabilitation work
 program, will reduce the amount                                 •   Disability benefits will be reduced
                                                                     based on the initial amount of Social
 of your LTD benefit.
                                                                     Security benefits you receive
                                                                     (Primary Social Security offset); and
 The amount of your LTD benefit
 depends on the coverage option
 you select and your pay as of                                   •   If immediately prior to your disability
                                                                     you were enrolled tor medical and/
 September 1 of the prior year.
                                                                     or life insurance benefits and you
 It you're a commissioned em-
                                                                     were otherwise eligible tor
 ployee, your pay is defined as
                                                                     retirement, then you would be
 your base pay plus your prior
                                                                     eligible to receive retiree medical
 year incentives. Otherwise, your
                                                                     coverage and/or retiree life
 pay is defined as your annual
                                                                     insurance coverage. The amount of
 base pay as of September 1 of
                                                                     your retiree life insurance benefit
 the prior year.
                                                                     depends on your years of service:
 Coverage Options
                                                                 -   If you have 25 or more years of
                                                                     service prior to the initial date of
 Each year you may choose
                                                                     your disability, you'll receive $6,250
 among three options tor your LTD
                                                                     in life insurance coverage.
 coverage . Your coverage op-
 tions are as follows:                                           -   If you have 1O years of service but
                                                                     less than 25 years of service prior to
                                                                     the initial date of your disability,
                                                                     you'll receive $3,125 in life
                                                                     insurance coverage.
                                                                 -   If you become disabled with less
                                                                     than 10 years of service, your life
                                                                     insurance coverage will stop at the
                                                                     time of your disability.




                                                                                                               7
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Option   Pay Replacement Other Benefits                               To illustrate how the LTD plan
                                                                      pays benefits , here's an example
    B    66%% pay         •   A minimum benefit payment of $100
                                                                      of how monthly benefits would
         replacement          or 10% of the gross monthly LTD
                              benefit, whichever is greater;          compare , based on the coverage
                                                                      option you select. Let's assume
                                                                      that your annual pay as of Sep-
                          •   Maximum monthly benefit of $8 ,333;
                                                                      tember 1 prior to your disability is
                                                                      $18 ,000 a year ($1 ,500 a month)
                          •   Annual maximum covered salary is
                                                                      and that you are now eligible for
                              $150,000;
                                                                      LTD benefits.
                          •   Disability benefits will be reduced
                              based on the initial amount of ben-
                              efits you and your dependents
                              receive (Family Social Security
                              offset);

                          •   Continued credited service under
                              the pension plan until age 65 ;

                          •   Continued life insurance coverage
                              (up to one times your pay) at no cost
                              to you provided you were enrolled
                              for life insurance coverage immedi-
                              ately prior to your disability; and

                          •   You may elect retiree medical cover-
                              age, even if you don 't meet the
                              definition of an eligible retiree ,
                              provided you were enrolled for
                              medical coverage immediately
                              prior to your disability.
    N    No coverage      No LTD benefits .




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 Here's how your monthly benefits
 would compare based on the
 coverage you select:

  •   Option A (50% pay
                                LTD plan pays $750/month
      replacement)
  •   Option 8 (66 2/3% pay
                                LTD plan pays $1,000/month
      replacement)
  •   Option N (no coverage)    LTD plan pays $0

 Cost                                  Benefit changes must be on             If you're disabled due to a mental
                                       account of and consistent with         or nervous disorder, the plan will
 You pay for LTD coverage with         your change in family status, and      pay long-term disability benefits
 before-tax dollars. The cost for      the change must be made within         for a maximum period of 24
 LTD coverage is listed on your        31 days of the family status           months. If you are hospitalized
 enrollment form; if you choose no     change event. The coverage             for a mental or nervous disorder,
 coverage, you'll receive "opt-out"    change is effective as of the date     the maximum period begins on
 credits which you may use to pay      the family status change oc-           the date you leave the hospital,
 for other benefit plans.              curred, provided you have              and will not include any period of
                                       properly notified the Benefits         time during which you were
 Since your contributions for LTD      Department and completed the           hospitalized for a mental or
 coverage are made on a before-        necessary forms within 31 days         nervous disorder.
 tax basis, any LTD benefits you       of the family status change
 receive will be taxable. No           event. If Proof of Good Health is      If you're able to return to work on
 contributions will be required        required, coverage (or the cover-      a part-time basis through partici-
 from you while you are receiving      age change) will be effective on       pation in a rehabilitation pro-
 LTD benefits.                         the date your Proof of Good            gram, you will continue to receive
                                       Health is accepted.                    some of your benefits from the
 Coverage Changes                                                             LTD plan during your recovery
 You may change your LTD               How Benefits Are Paid                  period.
 coverage only at open enrollment      Your LTD benefits begin after 26
 or when an eligible family status     weeks of continuous disability
 change occurs. Eligible family        and generally continue until one
 status changes are:                   of the following events occurs:
 •    Marriage;                        •   You recover and are no
                                           longer considered "disabled"
 •    Acquiring a new dependent            as determined by the claims
      (such as the birth or adoption       administrator and verified by
      of a child); and                     your physician. (See page 3
                                           for a definition of disability.)
 •    Death of a dependent.

 Proof of Good Health is required
                                       •   You reach the maximum
                                           benefit period, described on
 if you increase your coverage             page 10.
 from Option A (50% pay replace-
 ment) to Option 8 (66%% pay
 replacement), or if you currently
                                       •   You die.
 have no coverage and elect
 coverage under Option A or
 Option B.

                                                                                                                9
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If you become disabled after you
reach age 60, benefits will be
paid according to the following
schedule:

     Age at Time of Disability      Maximum Benefit Period
     Under age 60                             To age 65
     Age 60 but under age 65½                  5 years
     Age 65½ but under age 68½                To age 70
     Age 68½ and over                           1 year

Rehabilitative
Employment
During your disability you may      For example, assume you return
accept rehabilitative employment    to rehabilitative employment after
that is authorized by PM I Food     eight months of disability. You
Equipment Group and the claims      were earning $2,000 a month
administrator. If you accept this   before your disability, and you
employment, your disability         elected Option B (66%% pay
benefit payment will be reduced     replacement) for your long-term
by 50% of the gross pay you         disability coverage . Here's how
receive. The maximum amount         your benefits would be deter-
you may receive from your           mined:
disability benefit payment plus
your rehabilitative employment                                                  $    2,000
                                      Monthly pay before disability
pay may not exceed 100% of                                                            .667
                                      LTD coverage (66%%)                            X
your pre-disability pay.                                                        $    1,334
                                      Monthly disability benefit

                                    If you receive $1 ,000 a month in
                                    income during your period of
                                    rehabilitative employment, your
                                    disability benefit payment will be
                                    reduced by 50% of your gross
                                    pay:

                                       Rehabilitative employment monthly
                                         gross pay                               $       1,000
                                       Reduction factor (50%)                            X .50
                                       Benefit reduction                         $         500

                                    If you accept rehabilitative
                                    employment, your total gross
                                    pay and disability benefit will be:

                                       Normal monthly disability benefit          $ 1,334
                                       Benefit reduction                             - 500
                                       Reduced disability payment                 $    834
                                       Rehabilitative employment monthly gross pay + 1,000
                                       Total disability pay and benefit           $ 1,834

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                                      HOW YOUR
                                      DISABILITY
                                      BENEFITS ARE                          REDUCTIONS IN
                                      PAID                                  YOUR BENEFITS
 LTD Coverage for                     During your short-term disability     Your basic benefit amount from
 Separate Disabilities                period, benefits are paid through     the short-term disability plan may
                                      the payroll system at the same        be reduced by disability amounts
 Recurrent Disability                 interval as your regular pay          available under Worker's Com-
 If you recover from your disabil-    schedule. You become eligible         pensation, or any other compul-
 ity, return to work , and then       for LTD benefits after 26 weeks       sory state or federal program.
 become disabled again due to         of a qualified disability. Long-      Your basic benefit amount from
 the same cause within 26             term disability benefits are issued   the long-term disability plan may
 weeks of returning to work, your     by Thomas L. Jacobs & Associ-         be reduced by any income
 disability will be considered one    ates, Inc ., the claims administra-   payable to you from these
 period of disability and your LTD    tor, on a monthly basis.              sources:
 benefits will begin immediately.
                                      During the short-term disability      •   Disability amounts available
 Non-Recurrent Disability             period , your payment will be             under Worker's Compensation
                                      subject to deductions for tax and         Law, Occupational Disease
 If you recover from your             benefit purposes. Then , during           Law, or similar law; or from
 disability, return to work, and      the long-term disability period,          the Veterans Administration
 subsequently become disabled         taxes may be withheld at your             (except from a National
 due to an unrelated cause , your     request , but you 'll be billed           Service Life Insurance
 disability will be considered a      separately for applicable                 policy); or from any other
 new period of disability. You may    benefits coverage.                        government agency;
 again apply for LTD benefits, but
 only after you have been continu-                                          •   50% of the gross pay you
 ously disabled by the new                                                      receive from authorized
 disability for 26 weeks .                                                      rehabilitative employment;

 If you recover from your disabil-                                          •   Amounts payable under any
 ity, return to work, and become                                                state-mandated disability
 disabled due to the same cause                                                 income benefits ; and
 or an unrelated illness or injury
 more than 26 weeks after                                                   •   Primary or family benefits
 returning, your disability will be                                             (depending on LTD option
 considered separate from any                                                   chosen) available under the
 previous disability. Your LTD                                                  Social Security Act , Railroad
 benefits payments will begin only                                              Retirement Act, or similar act.
 after you have been continuously                                               (Increases in your benefits
 disabled for 26 weeks .                                                        caused by later changes in
                                                                                the law will not be included in
                                                                                determining the amount of
                                                                                your benefit.)




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WHAT
DISABILITY                             SITUATIONS
BENEFITS DO                            AFFECTING                              APPLYING FOR
NOT COVER                              BENEFITS                               BENEFITS
No disability benefits will be         Some situations could affect           Short-Term Disability
paid for:                              benefits from the STD and LTD          (STD) Benefits
                                       plans, as follows:
•    Any period of disability                                                 If your illness or injury has caused
     during which you engage in
     any work for pay or profit
                                       •   Coverage may be changed
                                           or delayed if you are trans-
                                                                              you to miss more than five con-
                                                                              secutive days of work at
                                                                              PMI Food Equipment Group,
     (except approved rehab-               ferred, or have any other
     ilitative employment as               employment status changes;         you must notify the Benefits
     described on page 10).                                                   Department. You will receive a
                                       •   STD coverage will be contin-       disability application to be com-
•    Any period of disability in           ued for approved paid leaves       pleted by you and your physi-
     which you are not under the           of absence;                        cian.
     continuous care of a qualified
     physician with a course of        •   LTD coverage will be contin-       You must return the completed
     treatment accepted by the             ued for approved paid leaves       form to Thomas L. Jacobs &
     medical community as being            of absence, if you make all        Associates, Inc . (TLJ), the claims
     sound, appropriate treatment          required contributions;            administrator. If you have not
     for your diagnosis. Family                                               provided adequate information to
     members are not considered        •   If you don 't apply for benefits   TLJ, you will be notified of the
     qualified physicians under            or provide the necessary           additional medical information
     the plan.                             claim information, your            needed to determine the status
                                           benefits may be delayed; and       of your disability. If you do not
•    Any period of disability                                                 send the information after the
     during which you refuse to be     •   If you become disabled prior       second request, your claim will
     exam ined by an independent           to termination of the plan by      be denied until you supply the
     physician selected by the             the employer, your benefits        required information.
     claims administrator.                 will continue.
                                                                              Long-Term Disability
•    Any disability caused by:         Right of Reimbursement                 (LTD) Benefits
                                       and Third-Party Liability              You and your physician must
     - Participation in active
       military service;               If you receive benefits from the       complete claim forms and send
                                       STD or LTD plan , and you later        them to TLJ. If you have not
     - Participation in the com-                                              provided adequate medical
                                       receive a settlement from a third
       mission of a felony;                                                   information to TLJ, you will be
                                       party for the same disability
     - Attempted suicide or an         expenses, the plan has the right       notified of the additional informa-
       intentionally self-inflicted    to be reimbursed for amounts           tion needed to determine the
       wound;                          paid as benefits . The plan also       status of your disability.
     - War or any act of war ,         has the right to file a lawsuit
       rebellion , insurrection , or   against a third party to collect       You may be eligible to receive
       participation in any riot;      expenses. You're required to           LTD benefits when your STD
                                       sign a subrogation acknowledge-        benefits end. For timely payment
     - Elective cosmetic surgery
                                       ment and do whatever is re-            of LTD benefits , you should send
       (except for surgery that is
                                       quested by Thomas L. Jacobs &          the completed claim forms to TLJ
       required after an acciden-
                                       Associates , Inc. to secure the        after you have been on STD for
       tal injury);
                                       recovery. If you were not actu-        four months, if your disability is
     - Chronic alcoholism or                                                  expected to continue for more
                                       ally eligible for any benefits you
       narcotic addiction (even if                                            than six months .
                                       received, PMI Food Equipment
       under an appropriate
                                       Group may also collect those
       medical treatment pro-
                                       payments from you, other insur-
       gram); or
                                       ance companies , or other
     - A preexisting condition, as     organizations .
       described on page 3.

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                                       WHEN                                 ADMINISTRATIVE
                                       COVERAGE ENDS                        INFORMATION
 For your LTD claim to be approved,    Your disability coverage usually     Claims Administrator
 the following requirements must       ends when your employment with
 be met:                               the company ends.                    TLJ is the claims administrator for
                                                                            the STD and LTD plans. TLJ
 •   You have suffered a covered       Your coverage under the STD          determines how much the plans
     disability;                       and LTD plans ends on the last       will pay and has final authority
                                       day of the month in which you:       under plan provisions to make
 •   You have exhausted STD                                                 this and other determinations.
     benefits and LTD benefit          •   Become ineligible due to a
     payments begin immedi-                change in employment             Premark International, Inc. is
     ately following cessation of          status;                          responsible for designing the
     STD benefits;                                                          STD and LTD plans, developing
                                       •   Retire;                          eligibility standards for plan
 •   You have paid all outstanding                                          participants, determining eligibil-
     employee contributions for        •   Leave the company; or            ity questions, and making contri-
     other benefit plans;                                                   butions to the trust fund from
                                       •   Die.                             which LTD benefit payments are
 •   You meet the LTD plan                                                  made.
     definition of disability; and     For example, if your employment
                                       ends on May 12, your coverage        Questions or Problems
 •   Your diagnosis is supported       will end on the last day of the
                                                                            You can resolve a question or
     by objective medical data.        month in which you were em-
                                       ployed, or May 31. Your employ-      problem regarding your disability
 A claim for long-term disability      ment will terminate on the last      claims through an informal
 benefits must be submitted within     day of the 26-week STD benefit       process. You can contact the
 12 months of the date of disabil-     period, regardless of whether        following organizations to infor-
 ity to be eligible for benefit        your LTD claim has been ap-          mally discuss your STD or LTD
 payment. Claims submitted after       proved.                              benefits/claims:
 12 months from the date of
 disability will not be eligible for   Coverage also ends on the date       Eligibility Questions
 long-term disability benefit          you no longer are eligible for the   PMI Food Equipment Group
 payment.                              plans, discontinue contributions,    World Headquarters
                                       or the plans are discontinued.       Attn:
                                                                              Employee Benefits Department
                                                                               701 Ridge Avenue
                                                                              Troy, OH 4537 4
                                                                               (513) 332-3000

                                                                            Benefits/Claims
                                                                            Questions
                                                                            Thomas L. Jacobs & Associates, Inc.
                                                                            227 West Monroe Street
                                                                            Suite 2700
                                                                            Chicago, IL 60606
                                                                            (800) 345-6495
                                                                            (312) 346-0155




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Formal Claim Procedures                 Appeals Procedures                      ERISA Rights
(LTD Claims Only)                       (LTD Claims Only)
                                                                                As a participant in the PMI Food
If your LTD claim question or           To appeal your claim , use the          Equipment Group welfare plans,
problem is not resolved through         following procedure:                    you are entitled to certain rights
the informal telephone process                                                  under the Employee Retirement
noted on the previous page, you         •   Deliver written notice to           Income Security Act of 197 4
                                                                                (ERISA). ERISA provides the
may file a formal claim as de-              Premark International, Inc .
scribed below. The procedures               (eligibility) or TLJ (benefits/     following rights:
fo r a formal claim are described           claims) within 60 days after
by the Employee Retirement                  receiving the notice of denial.     •   You can examine all plan
Income Security Act of 1974                 If you did not receive a notice         documents without charge.
(ERISA) . ERISA requires an                 of denial, you must deliver             These may include annual
employer to provide its emp loy-            written notice within 120 days          financial reports, insurance
ees with certain legal information          after your written claim was            contracts, plan descriptions,
about the plans covered by this             filed under the formal claim            and all other official plan
law. The following pertains to
our plan.
                                            procedure .                             documents filed with the
                                                                                    United States Department          .
                                        •   You may designate a repre-              of Labor.
You may initiate a formal review            sentative to act for you in
process through a written re-               the review procedure.               •   You can obtain copies of
quest to Premark International,                                                     plan documents and other
Inc. (eligibility) or to TLJ (ben-      •   You may review any pertinent            information by writing to
                                                                                    Premark International, Inc.,
efits/claims), who must act upon            documents at any reasonable
your request within 90 days after           time and place specified by             Attn: Compliance Analyst.
they receive it. If special circum-         Premark International, Inc. or          You may have to pay a
stances require more time, a                TLJ and submit additional               reasonable charge for
decision will be made as soon as            comments related to the                 copies.
possible, but not more than 180             appeal in writing .
days after the receipt of your                                                  •   You will rece ive a summary of
written forma l claim request.          •   Your appeal will be reviewed            the plan's annual financial
                                                                                    report automatically.
You will be notified of the delay           and you will be notified in
with in the initial 90-day period           writing of the results within
after receipt of the request. If            60 days after receipt of your       •   You may not be discharged
your claim is denied, you will be           appeal request.                         or discriminated against for
notified in writing of the reasons                                                  pursuing a benefit or for
for the denial.                         •   If special circumstances                exercising your ERISA
                                                                                    rights .
                                            cause a delay beyond the
If Your Claim Is Denied                     60-day period, a decision will
If you do not agree with the
                                            be made as soon as pos-             •   If your claim for a benefit is
                                            sible, but not more than                denied in whole or in part,
decision on your claim for ben-             120 days after receipt of your          you'll receive a written expla-
efits under the plan, you may               appeal request. You will be             nation of the denial. You
appeal the decision by                      notified of the delay in writi ng       have the right to have the
contacting:                                 within the initial 60-day period        plan administrator review
                                            after your appeal request is            and reconsider your claim.
•    Premark International, Inc . if        received .
     your claim involves a ques-
     tion about eligibility under
     the LTD plan ; or                  •   You will receive a decision in
                                            writing stating the reasons for
                                            the decision and the specific
•    TLJ if it's a disability claim .       reference to the plan pro-
                                            vision(s) that support that
                                            decision .
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 The people who administer your        If you have any questions about     Plan Year
 plan, called fiduciaries, have a      your plan, you should contact       Plan records are kept on a
 duty to do so prudently and in        the Benefits Department. If you     calendar-year basis, for
 the interests of you and other        have any questions about this       January 1 through December 31 .
 plan participants and beneficia-      statement or about your rights
 ries. Premark International, Inc.     under ERISA, you should con-        Claims Administrator
 and TLJ are fiduciaries for differ-   tact the nearest Area Office of     (Eligibility)
 ent aspects of the LTD plan.          Pension and Welfare Benefit
                                       Administration, United States       Premark International, Inc.
 Under ERISA there are steps you       Department of Labor.                Attn: Director, Health and Welfare
 can take to enforce the preced-                                           Plans
 ing rights. For example, if you       Other Plan Information              1717 Deerfield Road
 request materials from the                                                Deerfield, IL 60015
                                       Employer                            (708) 405-6000
 company's plan and don't re-
 ceive them within 30 days, you        PMI Food Equipment Group
 may file suit in a federal court.     (which includes Adamatic,           Claims Administrator
 The court may require the plan        Hobart, Stero, Vulcan-Hart, and     (Disability)
 administrator to provide the          Wolf Range)
                                                                           Thomas L. Jacobs & Associates, Inc.
 materials and pay you up to $100      World Headquarters
                                                                           227 West Monroe Street
 a day until you receive the           701 Ridge Avenue
                                                                           Suite 2700
 materials, unless the materials       Troy, OH 4537 4
                                                                           Chicago, IL 60606
 were not sent because of rea-         (513) 332-3000
                                                                           (800) 345-6495
 sons beyond the control of the                                            (312) 346-0155
 plan administrator.                   Full Plan Name
                                       Premark International, Inc. Group   Funding Medium
 If you have a claim for benefits      Benefits Plan
                                                                           The STD plan is solely a payroll
 which is denied or ignored in
                                                                           practice, with benefits paid from
 whole or in part, you may file suit   Plan Sponsor                        general assets. The STD plan is
 in a state or federal court after     Premark International, Inc.         not an ERISA plan.
 you've completed the claims           1717 Deerfield Road
 appeals process described on          Deerfield, IL 60015                 The LTD plan is self-funded.
 page 14.                              (708) 405-6000                      Some employee contributions are
                                                                           required. All contributions are
 If the fiduciaries misuse the         Employer Identification             made to the Premark Interna-
 plan's money, or if you're dis-
                                       Number                              tional, Inc. Group Benefits Trust
 criminated against for pursuing a
                                       XX-XXXXXXX                          from which benefits are paid.
 benefit or exercising your ERISA
 rights, you may seek help from
 the United States Department of       Plan Administrator
 Labor or file suit in a federal       Management Committee for
 court.                                Employee Benefits
                                       Premark International, Inc.
 The court will decide who should      1717 Deerfield Road
 pay court costs and legal fees. If    Deerfield, IL 60015
 you are successful, the court         (708) 405-6000
 may order the person you have
 sued to pay these costs and           Plan Number
 fees. If you lose, the court may      501
 order you to pay these costs and
 fees.                                 Type of Plan
                                       Welfare Plan/Disability


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T rustees
Bankers Trust Company
P.O. Box 1855
Church Street Station
New York , NY 10008
(212) 250-2500

Agent for Service of
Legal Process
Chairman , Management Commit-
tee for Employee Benefits
Premark International, Inc .
1717 Deerfield Road
Deerfield , IL 60015
(708) 405-6000

Amendment or
Termination of Plan
PMI Food Equipment Group and
Premark International, Inc . re-
serve the right to modify or
terminate these disability plans at
any time and for any reason .




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     SUMMA                     RY            P    L    A     N         D    E    S     C    R         p    T         0    N

 Following are changes to the summary plan descriptions (SPDs) for salaried and hourly nonbargained employees. In
 general, your benefits have not changed-this document is intended to further clarify some items in your SPDs. Please
 put the infonnation outlined below with your current SPDs. We've included page numbers so you can easily reference
 those sections of your SPDs.

 This summary serves as a summary of material modifications (SMM) under ERISA. This Sl\.1M provides clarification of
 the rtlan in effect as of January 1, 1993, unless stated otherwise. If disagreements arise between this document and the
 Group Benefits Plan document or the Flexible Benefits Plan document, the appropriate Plan document will govern.

 All Summary Plan Descriptions
 •    The Group Benefits Plan and the Flexible Benefits Plan are broad-based plans covering a number of business units
      within Premark International, Inc. Each business unit has a separate benefit program for its own employees. All of
      these separate benefit programs are documented in the Group Benefits Plan and the Flexible Benefits Plan. Only
      the portion of the Group Benefits Plan that is available to you from your business unit is described in the SPDs and
      Sl\.1Ms distributed to you. The business units include: Premark International, Inc.; The PMI Food Equipment
      Group; Florida Tile Industries, Inc.; Hartco Flooring Company; Precor Incorporated; Tupperware; The West Bend
      Company; Wilsonart International, Inc.; and fonner employers, including KitchenAid and closed and sold Dart
      Businesses.
 •    A Qualified Medical Child Support Order (QMED) is considered a family status change.
 •    Acquiring a new dependent (such as birth or adoption of a child or obtaining legal custody) is considered a family
      status change.
 •    The Uniformed Services Employment and Reemployment Rights Act, enacted on October 13, 1994, impacts your
      rights to health care coverage if you leave your job to enter military service (for 31 days or more).
      Under federal law, you may elect to reinstate or continue your employee or dependent medical coverage:
             For 18 months from the date that civilian employment ended; or
             Until the end of the period allowed for you to apply for reemployment, whichever is less.
      The actual ·length of time may vary depending on when you entered military duty and the length of time you have
      been in service. To keep your coverage in effect, you must pay the full cost of coverage plus a 2% administrative
      charge. (If the military service is less than 31 days, you will only be responsible for the regular employee share of
      the cost)
      The rules outlined in the Uniformed Services Employment and Reemployment Rights Act apply to all health care
      benefits (medical, dental, and health care spending account).

 Medical
 •    Preexisting condition exclusions do not apply to employees who return from a military leave of absence. (Page 2)
 •    Proof of Good Health is proof required by the plan that requires you and your dependents to disclose any past or
      current history of a physical or mental condition. This information could affect whether or not you or your eligible
      dependents are accepted for medical coverage. Proof of Good Health is required for:
             New hires and newly acquired dependents who enroll in the medical plan after 31 days from the date of
             eligibility (except for newborns); and
             Employees and/or dependents who enroll in the medical plan due to a family status change, after previously
             waiving coverage. (Page 2)
 •    You may change your coverage level only at open enrollment or when an eligible family status change occurs. If
      you don't make a change within 31 days, you may be subject to preexisting condition limitations and Proof of
      Good Health requirements, as outlined in greater detail in your SPD. (Page 3)


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      Treatment, diagnostic X-rays, and procedures for chiropractic care (which includes but is not limited to spinal
      subluxation) are covered up to $500. This limit does apply to non-network care. (Page 15)
      Services or supplies that are ordered by or received from a doctor acting outside the scope of his or her license are
      not covered under the plan. (Page 16)
      Impregnation or fertilization charges including, but not limited to, those involving a covered person as a recipient,
      surrogate, or donor, are not covered. (Page 16)
 •    All psychiatric and medication management visits are subject to a $20 copayment when you use a network
      provider. (Page 19)
      Mental health and chemical dependency treatment is considered non-networlc if you do not call ACORN:
             Before a non-emergency hospital admission; or
      .,_    Within 48 hours of an emergency hospital admission (and care is deemed clinically necessary).
      Self referrals to a network facility without contacting ACORN are considered non-network. (Page 20)
 •    If you are enrolled in a managed care plan and receive non-network care, you will not receive prenatal care and
      education credits under Your Health Matters. (Page 22)
 •    If your medical coverage terminates, you may receive a conversion policy. Conversion policies will only be offered
      if available from a third party administrator. (Page 39)
 •    Brain/spinal rehabilitation is covered under the Institutes of Quality® (IQ) program. For 1995, this is a voluntary
      program. Effective January 1, 1996, the IQ penalty provisions will apply. (Page 27)
 •    Oral contraceptives are covered under the plan if medically necessary. (Page 14)

 Dental
 •   If you have coverage under a OMO, the non-network lifetime orthodontia maximum is $800. There is no lifetime
     maximum for network care. (Page 9)
 •   Work in progress exclusions do not apply to employees who return from a military leave of absence lasting 31 or
     more days. (Page 28)

 Disability Insurance
 •   If you are away from work due to an illness or injury that does not qualify as an approved disability under the
     plan, you may be eligible for FMLA. (Page 3)
 •   Effective January I, 1995, the provisions of the LTD plan do not apply to Level I executives. This group of
     employees is covered under a separate plan. (Page 7)
 •   To clarify, if you become disabled before you reach age 60, your benefits continue until age 65. If you become
     disabled after you reach age 60, your benefits will be paid according to the schedule in the summary plan
     description. (Pagel0)

 Life Insurance
 •   The new address for claims processing is:
     Aetna Life Insurance Company
     575 Pigeon Hill Road
     P.O. Box 737
     Location Code W41B
     Windsor, CT 06095




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Benefit Continuation for Family and Medical Leave (FMLA)
The rules of the Family and Medical Leave Act (FMLA) apply to all health care benefits (medical, dental, health care
spending account).
•    Under the FMLA. you are eligible for up to 12 weeks of unpaid leave during the year for your own ill health, to
     care for an ill family member, or to care for a child following birth or adoption. However, you will be required to
     use any accrued short-term disability leave (if applicable) and all but five days of vacation while talcing FMLA
     leave. Coverage under medical, dental, and health care spending accounts will continue.
     When the leave of absence is covered by the FMLA. the company pays its share of the monthly cost. You are
     required to pay your share of the monthly cost to keep your coverage in effect.
     Your life insurance, long-term disability, short-term disability, and personal accident insurance will not continue
     while you are on the leave. However, you will not be subject to Proof of Good Health or preexisting condition
     exclusion requirements when you return. These benefits will continue while you are on the short-term disability
     portion of Uie leave.




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